APR-15-2@14 oF FGZvUbesEEIB-ICW Document 85346 FileACH2511° Page 1of2 °°

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t TREN G LARe
_asteRe STR! Prous IN RE: OIL SPILL by “Deepwater Horizon”
api RPR 28 an ior 53 DIRECT FILING SHORT FORM’

r Authorized by Order of the Court, Civil Action Ne. 10 md 2178 Rec. Doc. 982
LORETIAS Wao! és of sald Order having also been filed In Clvll Actions No. 10-886 and 10-2771)
bee

SECTION: J

JUDGE GARL BARBIER

By submitting this document, | am asserting a clalm in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and Incorporate the Master Answer (Rec. Doc. 244) to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., ln No. 10-2771; and/or Intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed In MDL No. 2179 (10 md 2178); and/or Intervene
Into, Join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-expicsion Injuries (“B3 Bundle”)
fited in MDL No, 2179 (10 md 2179).

Last Name ; Firet Name ‘ Middfe Name/Malden :
beee.. TOM PHILO
Phone Numbe | M Add
oe BES" 207-3477 - | ee 88s saa Loew! yahoo. tom
Address 3 Z Clty / State / Zip

(e€ ~ Fe 37802_
BUSINESS CLAIM.

INDIVIBUAL CLAIM

“Employer Nama Business Name ~
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Job Title / Description Type of 8 Greco
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I
Clalm filed with BP? Yes O NO oO : : Claim Filed with GGCF?: YES ey No [1
if yee, BP Claim No.: 1 if yes, Claimant Identification No.:

Claim Type (Please check all that apply):
Damage of destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Earnings/Profit Loas Loss of Subsistence uge of Natural Resources
Personal Injury/Death Removal and/or clean-up costs
Othar.

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1 This form should be filed with the U.S. Dlatclct Court for the Eattarn District of Lovisigna, 500 Poydras Street, New Orleans, Louisiana 70130, In Civil Action No.
10-8888. While this Direct Filing Short Form Is to b@ filed In CA No. 10-8888, by prior order of the Court, (Rec. Doe, 246, CA. No. 10-2772 and Rec. Doc, 982 in MOL
2179), the filing of this form In CA. No. 10-8888 shall be deemed to be simultaneously filed In CA, 10-2771 and MDL 2279. Plaintiff Liaison Counsel, after belng
notified electronically by the Clerk of Court of the filing of this Shart Form, shall promptly serve this form through the Lexis Nexls service system an Defense Liaison.

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The filing of thia Direct Filing Short Form ahall aiso serve in tau of the requirement of 2 Plaintiff to ilie a Plaintit! Profile Form.
APR 15-204 biG evUssgs-CIB-JICW Document 85346 Filed ba7s677° Page 20f2 =" **

Please check the box(es) below that you think apply te you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundie B41)

we. Commercial fisherman, shrimper, crabber, or aystarman, or the owner and operstor of a dualnegs involving fishing, shrimping,
efabbing or oystaring.

Oo 2,‘ Seafood processor, diet:butor, retail and seafood market, or restaurant owner and cperstor, or an employee tharaof.

1 3. Recreational business owner, operator or worker, including 4 recreational fishing business, commercial guide service, or charter
fishing business who eam their living through the use of the Guif of Mexico.

£14. Commercial business, business owner, operator or worker, Including commercial divers, offshore oilfield service, repalr and
supply, real estate agents, and supply companies. or an employee thereof.

[1 §. Recreational aport fishermen, recreational diver, peachgoer, or recreational boater.
D0 6. Plant and dock worker, Including commercis! seafood plant worker, tongehoreman, or ferry operator.

oO? Owner, lessor, or lessee of real property alleged to be damaged, harmed or Impacted, physically or economically, inctuding
lessees of oyster beds.

[] & —_Hetel owner and operator. vacatlon rente! owner and agent, of all thase whe earn thelr living from the touriam industry.
[] 9. Bank, finansial Institution, or retell business that suffered losses aa a result of the spill,

oO 19. Person who utilizes natural resources for subsistence.

rn Other: d

Post-Explosion Personal Injury, Medica! Monitoring, and Property Damage Related to Cleanup (Bundle B3)

(1. Boat captain of crew Involved in the Vessels of Opponunity program,
0 2. = Worker involved in decontaminating vessels that came into contact with oll and/or chemical dispersants.

(3. — Vessel captain or crew who wae not involved In the Vessels of Opportunity program but who were exposed to harmful chamicals,
odors and emissions during post-explosion clean-up activities.

(14. — Clean-up worker or beach personnel invotved in clean-up aciivities along shorelines and Interegastal and intertidal zones.
(1 §. Resident who lives or works In close proximity to coastal weters,
C6. Other:

Both BP and the Guif Coast Claim 3 Facility (‘“GCCF") are hereby authorized to relea se to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11). and subject to full coples of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

sara AGL.

Tonw F Verse

“Print Name

Y-Mt- 2e4f

Date

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The filing of this Direct Filing Short Form shall also serve in teu of the requirement of a Pisintiff to file a Plaintiff Profile Form.

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